* Case 1:20-mj-02100-LFL DOCRRAURE WINUTES Docket 01/24/2020 Page 1 of Page 3

Magistrate Judge Alicia M. Otazo-Reyes
Atkins Building Courthouse - 10th Floor Date: 1/24/20 Time: 10:00 a.m.

 

 

   

t: Angel David Rosario J#: 20816-104 Case #: 20-2100-MJ-LOUIS
} Attorney: ROBERT PEREZ (CJA)

 

 
     

Violation: CONSP/PWID COCAINE

 

 

 

 

mg: PTD . U/ pt:
Bon/PTD Held: © Yes No Recommended bon
O

«Shp fT) with te

 

Bon -signed by:

 

= COV Set
surrendes haar do not obtain hassports/travel docs Language: Spanish

 

 

Report to PTS as directed/or x’s a week/month by Disposition:
phone: x’s a week/month in person Prel/Arr 2/5

Ci

 

Random urine testing by Pretrial Services 7

 

_ J, -¢-
Treatment as deemed necessary 0) @ +e A A _- SBS \u-
A

 

Refrain from excessive use of alcohol (nf ¢ C po pth

 

Participate in mental health assessment & treatment [
(oth Q ft cht 5

 

Maintain or seek full-time employment/education (Qurci
$4

 

No contact with victims/witnesses

 

No firearms

 

Not to encumber property

 

May not visit transportation establishments

 

Home Confinement/Electronic Monitoring and/or

 

AOOOOGAG a

Curfew pm to am, paid by

 

Fl Allowances: Medical needs, court appearances, attorney visits,

 

religious, employment

 

 

 

 

 

 

 

 

Travel extended to: Time from today ta excluded
Other: from Speedy Trial Clock
NEXT COURT APPEARANCE pate: Time: Judge: Place:

 

Report RE Counsel:

 

PTD/Bond Hearing:

 

Prelim/Arraign or Removal:

 

Status Conference RE:

 

D.A.R. Lt - O 6” | Time in Court: = mM.

SJ mw

 
